                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-143
 v.                                                   )
                                                      )       COLLIER / LEE
 SAMUEL MOSES                                         )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture and distribute methamphetamine (actual)

 or a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate

 Defendant guilty of the lesser included offense of the charge in Count One of the Superseding

 Indictment, that is of conspiracy to manufacture and distribute methamphetamine (actual) or a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter (Court File No. 288). Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Court File No. 288) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding




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             Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture and distribute methamphetamine (actual) or a

             mixture and substance containing a detectable amount of methamphetamine, a

             Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

             841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute methamphetamine

             (actual) or a mixture and substance containing a detectable amount of

             methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

             §§ 846, 841(a)(1), and 841(b)(1)(C).

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, January 23, 2014 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:
                                            /s/
                                            CURTIS L. COLLIER
                                            UNITED STATES DISTRICT JUDGE




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